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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_________________________________________
                                          :
        UNITED STATES OF AMERICA          :
                                          :             CRIMINAL ACTION
                    V.                    :
                                          :             No: 2:20-cr-00202-HB-1
          ALEKSANDAR KAVAJA               :
                                          :
                          Defendant       :
                                          :
________________________________________ :


                                            ORDER

        AND NOW, this ____________day of _________________________________, 2020,

upon consideration of the foregoing Petition and upon the Motion for Continuance of Andres Jalon,

Esquire, attorney for the Petitioner, it is hereby ORDERED AND DECREED that the Motion for

Continuance is granted.



                                        BY THE COURT:




                                        ______________________________
                                        J.
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_________________________________________
                                          :
      UNITED STATES OF AMERICA            :
                                          :           CRIMINAL ACTION
                    V.                    :
                                          :           NO: 2:20-cr-00202-HB-1
         ALEKSANDAR KAVAJA                :
                                          :
                          Defendant       :
                                          :
________________________________________ :


                     MOTION FOR CONTINUANCE OF SENTENCING

       Defendant, Aleksandar Kavaja, hereby submits this Motion for Continuance of

sentencing and in support thereof avers as follows:

       1.   Mr. Kavaja’s sentencing date is scheduled for December 22, 2020.

       2.   Mr. Kavaja is currently incarcerated at Federal Detention Center (FDC)

            Philadelphia.

       3.   FDC Philadelphia is currently experiencing extremely high rates of infection

            of COVID-19 which has prevented outside visits from attorneys.

       4.   Counsel has been unable to meet with Mr. Kavaja to prepare him for

            sentencing, and it is unknown when this lockdown will be lifted allowing

            counsel to enter the facility.

       5.   Further, while counsel has hired an interpreter, Mr. Kavaja’s family has very

            recently, in the past week, sent over documents and letters related to the

            sentencing which must be translated.

       6.   United States Attorneys, Kelly Harrell, Esquire and Jerome Maiatico, Esquire

            do not object to the continuance.
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      7.   In the interest of justice, Defense Counsel would like to meet with Mr. Kavaja

           to adequately prepare him as well as have all documents and letters translated

           prior to sentencing.

      8.   Counsel for Defendant respectfully requests a 60-day continuance for Mr.

           Kavaja’s sentencing hearing.

           WHEREFORE, Defendant, Aleksandar Kavaja, requests that this Honorable

      Court grant his Motion for Continuance.

                                            /s/ Andres Jalon, Esquire
                                            Andres Jalon, Esquire
                                            Jalon & Associates
                                            1500 John F. Kennedy Blvd., Ste. 1300
                                            Philadelphia, PA 19102
                                            215-844-8444; Fax: 215-985-3610
                                            ajalon@jalonesq.com
                                            Counsel for Defendant Aleksandar Kavaja

Dated: December 1, 2020
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                            CERTIFICATE OF SERVICE


       I, Andres Jalon, hereby certify that on this 1st day of December 2020, a true and

correct copy of the foregoing Motion to Continue Sentencing was served via Electronic

Filing System on the below listed persons:

                                 Kelly Harrell, Esquire
                               Jerome Maiatico, Esquire
                                Assistant U.S. Attorney
                            United States Attorney’s Office
                            615 Chestnut Street, Suite 1250
                           Philadelphia, Pennsylvania 19106




                                             /s/ Andres Jalon, Esquire
                                             Andres Jalon, Esquire
                                             Jalon & Associates
                                             1500 John F. Kennedy Blvd., Ste. 1300
                                             Philadelphia, PA 19101
                                             215-844-8444; Fax: 215-985-3610
                                             ajalon@jalonesq.com
                                             Counsel for Defendant Aleksandar Kavaja
Dated: December 1, 2020
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                      CERTIFICATION OF CONCURRENCE

       Andres Jalon, Esquire, hereby certifies that Assistant United States Attorney

Jerome Maiatico and Kelly Harrell concur with Counsel’s request for a continuance.




                                            /s/ Andres Jalon, Esquire


                                            ANDRES JALON, ESQUIRE
                                            JALON & ASSOCIATES
                                            1500 John F. Kennedy Blvd., Ste. 1300
                                            215-844-8444; Fax: 215-985-3610
                                            ajalon@jalonesq.com
                                            For Defendant Francis Familia Vasquez


Dated: December 2, 2020
